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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   (1)    JARED F. COLLINS,                             )
                                                        )
                         Plaintiff,                     )
                                                        )
   v.                                                   )      Case No. 22-CV-375-GKF-MTS
                                                        )
   (1)    BOARD OF COUNTY                               )
          COMMISSIONERS OF NOWATA                       )
          COUNTY,                                       )
                                                        )
                                                        )
                         Defendants.                    )

                      STIPULATION OF DISMISSAL WITH PREJUDICE

          COME NOW Plaintiff, by and through his undersigned counsel, and pursuant to

   Fed.R.Civ.Pro. 41(a)(1)(A)(ii), and with the agreement and stipulation of all parties, hereby

   dismisses with prejudice all claims against the Defendant Board of County Commissioners of

   Nowata County. The parties stipulate that they shall each bear their own attorney fees and costs.

                                                        Respectfully submitted,

                                                        Frank W. Frasier Signed with Permission
                                                                           by Filing Attorney
                                                        _________________________________
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                                            of Nowata County




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